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      UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
                                    AT SEATTLE



                                                         JUDGMENT IN A CIVIL CASE
       CASSIE CORDELL TRUEBLOOD, et al.,

                              Plaintiffs,                CASE NUMBER: C14-1178 MJP

               v.

       WASHINGTON STATE DEPARTMENT
       OF SOCIAL AND HEALTH SERVICES,
       et al.,

                              Defendants.




       Jury Verdict. This action came before the Court for a trial by jury. The issues have been
       tried and the jury has rendered its verdict.

X      Decision by Court. This action came to consideration before the Court. The issues have
       been considered and a decision has been rendered.

       THE COURT HAS ORDERED THAT

       The Court notes the following fine amounts were incurred (and adjustments made to

previous fine assessments) during the time periods noted below:

           •   $11,005,000 representing in-patient restoration contempt fines imposed in this

               action for the period from April 1 to April 30, 2023;

           •   A net decrease of $469,000 in in-patient contempt fines imposed in this action for

               the period from March 1 to March 31, 2023, resulting from an updated

               calculation;
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           •   A net decrease of $290,000 in in-patient contempt fines imposed in this action for

               the period from February 1 to February 28, 2023, resulting from an updated

               calculation;

           •   A net decrease of $227,000 in in-patient contempt fines imposed in this action for

               the period from January 1 to January 31, 2023, resulting from an updated

               calculation;

           •   A net decrease of $177,000 in in-patient contempt fines imposed in this action for

               the period from December 1 to December 31, 2022, resulting from an updated

               calculation;

           •   A net decrease of $146,000 in in-patient contempt fines imposed in this action for

               the period from November 1 to November 30, 2022, resulting from an updated

               calculation;

resulting in a total for the current reporting period of $9,696,000.

       Under the Court’s Order Granting Final Approval of Amended Settlement Agreement

(Dkt. No. 623), contempt fines generated by failures to adhere to inpatient evaluation timelines

shall not be reduced to judgment. However, judgment is entered against Defendants in the

following amounts:

           •   $558,000 representing in-jail evaluation contempt fines imposed in this action for

               the period from February 1 to February 28, 2023;

           •   A net decrease of $7,500 in in-jail contempt fines imposed in this action for the

               period from March 1 to March 31, 2023, resulting from an updated calculation;
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resulting in a total for the current reporting period of $550,500. This total is due and payable into

the Registry of the Court, to be kept in the Registry until further order of the Court. This

judgment shall bear interest at the federal statutory rate until satisfied.

Dated: May 12, 2023.

                                                  Ravi Subramanian
                                                  Clerk of Court

                                                  s/Serge Bodnarchuk
                                                  Deputy Clerk



                                                A
                                                Marsha J. Pechman
                                                United States Senior District Judge
